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 2 901 Fifth Avenue, Suite 1400
   Seattle, WA 98164
 3 Telephone: 206-689-8500
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 4 Attorneys for Defendants Christopher
   Whited and Patterson Dental Supply, Inc.
 5

 6

 7                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WASHINGTON
 8                                        AT RICHLAND

 9 LAURA J. WILLIAMSON,                                   No. 4:19-cv-05176

10                               Plaintiff,               DECLARATION OF LAURA E.
                                                          KRUSE IN SUPPORT OF NOTICE
11            vs.                                         OF REMOVAL OF CIVIL ACTION
                                                          UNDER 28 U.S.C. §1441(A)
12 CHRISTOPHER WHITED,
   PATTERSON DENTAL SUPPLY,                               (REMOVED FROM
13 INC.,                                                  WALLA WALLA COUNTY
                                                          SUPERIOR COURT
14                               Defendants.              CAUSE NO. 19-2-00398-36)

15

16             I, Laura E. Kruse, declare as follows:

17             1.          I am over eighteen (18) years of age and am competent to testify to the

18 matters contained in this declaration. I am an attorney for Defendants Christopher

19 Whited and Patterson Dental Supply, Inc. I submit this Declaration and the

20
                                                                           FORSBERG & UMLAUF, P.S.
     DECLARATION OF LAURA E. KRUSE IN SUPPORT OF NOTICE OF                        ATTORNEYS AT LAW
     REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. §1441(A) – PAGE 1              901 FIFTH AVENUE  SUITE 1400
     CAUSE NO. 4:19-CV-05176                                                SEATTLE, WASHINGTON 98164
                                                                           (206) 689-8500  (206) 689-8501 FAX
     2401800 / 3638.0001
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 1 attached Exhibits in support of Defendants’ Notice of Removal of the Plaintiff’s

 2 state court action to this Court under 28 U.S.C. §§ 1332, 1441 and 1446, et seq.

 3             2.          Attached hereto as Exhibit 1 is a true and correct copy of the Proof of

 4 Service on Patterson Dental Supply, Inc. showing a service date of June 4, 2019.

 5             3.          Attached hereto as Exhibit 2 is a true and correct copy of redacted

 6 billing records from one of plaintiff’s medical providers, Harborview Medical

 7 Center, totaling $214,048.31. The final total of bills from Harborview likely

 8 exceeds that amount, and combined with bills from other medical providers, shows

 9 the amount in controversy exceeds $75,000.

10             4.          Attached hereto as Exhibit 3 is a true and correct copy of the

11 Corporate Registration information showing Patterson Dental Supply, Inc.

12 maintains its corporate headquarters in St. Paul, Minnesota.

13             5.          Attached hereto as Exhibit 4 is a true and correct copy of the

14 Complaint showing plaintiff is a resident of Washington and defendant Christopher

15 Whited is a resident of Idaho.

16             6.          Defendant has paid to the Clerk of Court for the Eastern District of

17 Washington, the $400.00 filing fee required by law.

18             7.          Attached as Exhibit 5 are true and correct copies of all documents

19 filed in this matter in Walla Walla County Superior Court.

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                                                                          FORSBERG & UMLAUF, P.S.
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 1             I declare under penalty of perjury under the laws of the United States and the

 2 State of Washington that the foregoing is true and correct.

 3             SIGNED this 2nd day of July, 2019 at Seattle, Washington.

 4
                                     FORSBERG & UMLAUF, P.S.
 5
                                     By: s/ Laura E. Kruse
 6                                       Laura E. Kruse, WSBA #32947
                                         FORSBERG & UMLAUF, P.S.
 7                                       901 Fifth Avenue, Suite 1400
                                         Seattle, WA 98164
 8                                       Tel:      206-689-8500
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 9                                       E-mail: LKruse@FoUm.law
                                         Attorneys for Defendants Christopher Whited
10                                       and Patterson Dental Supply, Inc.

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                                                                        FORSBERG & UMLAUF, P.S.
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 1                                CERTIFICATE OF SERVICE

 2             The undersigned certifies under the penalty of perjury under the laws of the

 3 State of Washington that I am now and at all times herein mentioned, a citizen of

 4 the United States, a resident of the State of Washington, over the age of eighteen

 5 years, not a party to or interested in the above-entitled action, and competent to be

 6 a witness herein.

 7             On the date given below I caused to be served the foregoing

 8 DECLARATION OF LAURA E. KRUSE IN SUPPORT OF NOTICE OF

 9 REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. §1441(A) on the following

10 individuals in the manner indicated:

11 Bradley Johnson
   Bradley Johnson Lawyers
12 1333 Stewart Street
   Seattle, WA 98109
13 (X) Via Hand Delivery
   (X) Via E-Mail
14

15             SIGNED this 2nd day of July, 2019, at Seattle, Washington.

16

17                                                s/ Honor M. McQueen
                                                  Honor M. McQueen
18

19

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                                                                        FORSBERG & UMLAUF, P.S.
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